Case 1:16-cr-20549-RNS Document 1447 Entered on FLSD Docket 11/19/2019 Page 1 of 5



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 16-20549-CR-SCOLA


   UNITED STATES OF AMERICA
               v.
   PHILIP ESFORMES
   _____________________________/


                        CASE NO. 16-23148-CV-WILLIAMS


   UNITED STATES OF AMERICA
               v.
   PHILIP ESFORMES
   _____________________________/


       ESFORMES’S MOTION TO EXEMPT FROM RESTRAINT AND
      FORFEITURE UNTAINTED PROPERTY NEEDED TO PAY LEGAL
    INVOICES THROUGH APPEAL AND TO STAY IMPOSITION OF ANY
      RESTITUTION OR FORFEITURE JUDGMENT PENDING APPEAL

         At a status conference held on November 13, 2019 before Judge Scola

   regarding his unresolved Motion to Modify Preliminary Injunction to Release Funds

   for Legal Fees and Expenses Through Trial [Williams-DE#224], the Court inquired

   about the status of appellate fees. Tr. at 21. The Order [Williams-DE#218] entered

   contemporaneously     with   the    Stipulated   Injunction   [Williams-DE#217]
Case 1:16-cr-20549-RNS Document 1447 Entered on FLSD Docket 11/19/2019 Page 2 of 5



   contemplated that “the Court [could] approve[] final payment for legal services

   through judgment (which may be submitted for approval after the judgment),” and

   “any remaining Released Funds shall be deposited in the Court’s registry, subject to

   the stipulated PI, and available to satisfy any judgment or order of forfeiture or

   restitution.” Williams-DE#218 at 2. The restitution / forfeiture hearing is scheduled

   for November 21, 2019 before Judge Scola.

         Mr. Esformes has filed a notice of appeal from the conviction and sentence.

   Scola-DE#1390. Upon entry of a restitution / forfeiture judgment, he will then file a

   second notice of appeal in accordance with Manrique v. United States, 137 S. Ct.

   1266, 1274 (2017).

         Imposition of a judgment of restitution may trigger a statutory lien against all

   of Esformes’s property:

            [A]n order of restitution made pursuant to [relevant sections] of
            this title, is a lien in favor of the United States on all property and
            rights to property of the person fined as if the liability of the person
            fined were a liability for a tax assessed under the Internal Revenue
            Code of 1986. The lien arises on the entry of judgment and
            continues for 20 years or until the liability is satisfied, remitted,
            set aside, or is terminated....

   18 U.S.C. § 3613. To insure that Mr. Esformes is able to exercise his rights under

   the Sixth Amendment to retain counsel of choice for his appeals, he now

   “challenge[s] the restraint of his untainted funds before the lien [has] attached.”
Case 1:16-cr-20549-RNS Document 1447 Entered on FLSD Docket 11/19/2019 Page 3 of 5



   United States v. Scully, 882 F.3d 549, 553 (5th Cir. 2018) (Elrod, J., concurring in

   the judgment); id. at 555 (“Had Scully challenged the restraining order prior to entry

   of judgment, he would be in a much stronger position to argue that his Sixth

   Amendment rights outweighed the government’s interest in preserving funds to

   satisfy an expected order of restitution.”); id. at 557 (“a restraint of untainted funds

   after conviction but before sentencing and entry of judgment implicates Sixth

   Amendment concerns.”). See also United States v. Marshall, 872 F.3d 213, 218 &

   n.7 (4th Cir. 2017) (without deciding that the Sixth Amendment confers right to

   counsel of choice for appeal, the court posited that “[a]ny right to appellate counsel

   of choice, if it were deemed to exist, is coextensive with the right to trial counsel of

   choice, at best.”).

          Accordingly, Mr. Esformes asks the Court to enter an order exempting from

   restraint and forfeiture untainted assets with which to pay counsel of choice through

   appeal at commercially reasonable hourly rates. He has no objection to the same

   conditions imposed by the Order regarding trial fees. See Williams-DE#218 (“The

   Court will monitor the use of those funds by monthly submission, on an ex parte

   basis, of invoices for legal services.”).

          It is significant that the jury’s forfeiture verdict identified as directly

   forfeitable only Mr. Esformes’s minority interest in a limited number of operating
Case 1:16-cr-20549-RNS Document 1447 Entered on FLSD Docket 11/19/2019 Page 4 of 5



   companies. Therefore, all other assets of Mr. Esformes should be treated as untainted

   and available to pay legal invoices through appeal.

         Insofar as the Court is not ready to rule on this request at this time (or is

   inclined to deny the motion), Esformes moves the Court to defer ruling on, or stay

   imposition of, any restitution / forfeiture judgment that it would otherwise impose

   following the November 21, 2019 hearing until after this motion is decided by this

   Court and, if the motion is denied, by the Court of Appeals. See Marshall, 872 F.3d

   at 216-17 (“Marshall subsequently filed a motion to stay the court's second order of

   forfeiture pending appeal, and the district court granted the motion. After the district

   court entered the second forfeiture order, Marshall filed a separate motion in this

   Court to use his untainted funds—the $59,000 in the credit union account— to hire

   appellate counsel and a motion to suspend appellate proceedings until the Court

   ruled on his motion for funds. We granted the motion to stay, ordered briefing

   limited to the motion to use funds and heard oral argument. Marshall's motion to use

   funds is now ripe for decision.”).
Case 1:16-cr-20549-RNS Document 1447 Entered on FLSD Docket 11/19/2019 Page 5 of 5



         Because Mr. Esformes remains forum-neutral, he has no objection (consents)

   to having this motion heard by either district judge.

                             Respectfully submitted,

                             BLACK, SREBNICK, KORNSPAN & STUMPF, P.A.
                             201 South Biscayne Boulevard, Suite 1300
                             Miami, FL 33131 / Tel: (305) 371-6421

                             /s/ Howard Srebnick
                             HOWARD SREBNICK
                               Fla. Bar No. 919063
                               HSrebnick@RoyBlack.com
